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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
In re                                                               Chapter 11

        4921 12th Avenue, LLC                                       Case no. 18-47256

                                    Debtor.
----------------------------------------------------------x




                                     PLAN OF REORGANIZATION




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ATTORNEYS FOR THE PROPONENT
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                                      INTRODUCTION

              Galster Funding LLC ("Proponent"), proposes this Plan of Reorganization for

4921 12th Avenue, LLC (the “Debtor”). UPON CONFIRMATION, THIS PLAN SHALL BE A

BINDING OBLIGATION BETWEEN AND AMONG THE DEBTOR AND EACH OF THE

DEBTOR'S CREDITORS (AS SUCH TERMS ARE DEFINED BELOW).




                                        DEFINITIONS

              1.      "Administrative Expense" Any cost or expense of administration of the

Bankruptcy Case entitled to priority under section 507(a)(1) and allowed under section 503(b) of

the Bankruptcy Code, and any fees or charges assessed against the Debtor’s Estate under Chapter

123, Title 28, United States Code.

              2.      “Administrative Claims Bar Date” shall mean the last day to file requests

for payment of Administrative Claims (except for Professional Fee Claims), which requests shall

be filed and served on counsel for the Debtor and Proponent no later than the Confirmation

Hearing, other than those Administrative Claims expressly excluded therefrom pursuant to prior

order of the Bankruptcy Court.

              3.      “Administrative Expense Claim" shall mean claim for payment of an

Administrative Expense.

              4.      “Allowed Amount” shall mean the amount of an “Allowed Claim.”

              5.      "Allowance Date" shall mean the date which a Disputed Claim becomes

an Allowed Claim by Final Order.

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                6.      "Allowed Claim" shall mean a Claim: (a) to the extent that a Proof of

Claim is filed timely or, with leave of the Court late filed as to which (i) no party in interest files

an objection or (ii) which is allowed by a Final Order; or (b) which is listed on the Proponent’s

schedules or any amendments thereto but which is not listed therein as disputed, unliquidated or

contingent.

                7.      "Allowed Secured Claim" shall mean a Secured Claim to the extent it is an

Allowed Claim.

                8.      "Allowed Unsecured Claim" shall mean an Unsecured Claim to the extent

it is an Allowed Claim.

                9.      “Assets” shall mean any and all of the respective real or personal property

of any nature of the Debtor, including, without limitation, any real estate, buildings, structures,

improvements, privileges, rights, easements, leases, subleases, licenses, goods, materials,

supplies, furniture, fixtures, equipment, work in process, accounts, chattel paper, Cash, deposit

accounts, reserves, deposits, contractual rights, intellectual property rights, claims, Causes of

Action and any other general intangibles of Debtor, of any nature whatsoever, including, without

limitation, the property of the estate pursuant to section 541 of the Bankruptcy Code.

                10.     “Avoidance Actions” shall mean all claims and causes of action which the

Debtor has or had the power to assert pursuant to any or all of sections 510, 544, 545, 547, 548,

549, 550, 551, and 553 of the Bankruptcy Code.

                11.     "Bankruptcy Case" shall mean this Chapter 11 bankruptcy case.




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               12.      "Bankruptcy Code" shall mean Title 11 of the United States Code (11.

U.S.C. § 101 et. seq.

               13.      "Bankruptcy Court" shall mean the Court as defined below.

               14.      “Bankruptcy Rule(s)” shall mean the Federal Rules of Bankruptcy

Procedure as applicable to cases under the Bankruptcy Code, together with all amendments and

modifications made from time to time thereto.

               15.      "Bar Date” shall mean April 4, 2019.

               16.      “BCG” and “BCG Mortgagee” means Beis Chasidi Gorlitz.

               17.      “BCG Mortgages” means those certain mortgages on the Property

pertaining to the notes in the original principal amounts of $1,200,000 and $1,300,000 made by

the Debtor in favor of BCG, and subsequently assigned Old Republic.

               18.      "Cash" shall mean all cash and cash equivalents which evidence

immediately available funds in United States dollars.

               19.      “Causes of Action” shall mean any and all claims and causes of action of,

and remedies granted to, the Debtor against any third party, including, without limitation, any

avoidance claims or causes of action pursuant to sections 502, 506, 510, 541 through 545, 547

through 551, and/or 553 of the Bankruptcy Code and any claims pursuant to any other statutory

or common law.

               20.      "Claim" shall mean a right to payment as set forth in § 101(5) of the

Bankruptcy Code.

               21.      "Claimant" shall mean the holder of a Claim.

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               22.      "Confirmation Date" shall mean the date of the entry of the Confirmation

Order.

               23.      "Confirmation Hearing" shall mean the hearing pursuant to the

Bankruptcy Code Section 1128 before the Bankruptcy Court regarding the proposed

confirmation of the Plan.

               24.      "Confirmation Order" shall mean the order of the Court confirming the

Plan.

               25.      "Court" shall mean the United States Bankruptcy Court for the EASTERN

District of New York.

               26.      "Creditor" shall mean any entity that holds a Claim against the Debtor.

               27.      "Debtor" shall mean 4921 12th Avenue, LLC.

               28.      “Disbursing Agent” shall mean the Proponent.

               29.      “Disclosure Statement” shall mean the disclosure statement filed by the

Proponent with respect to this Plan.

               30.      "Disputed Claim" shall mean the whole or any portion of any claim

against a Proponent to which an objection is timely filed as to which a Final Order has not been

entered allowing or disallowing such Claim or any portion thereof.

               31.      "Effective Date" “Effective Date” shall mean the first business day after

the closing of the sale of the Property.

               32.      "Estate" shall mean the estate of the Debtor created upon the

commencement of the Bankruptcy Case pursuant to Section 541 of the Bankruptcy Code.
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               33.    "Executory Contracts" shall mean "executory contracts" and "unexpired

leases" as such terms are used within Section 365 of the Bankruptcy Code.

               34.    "Final Order" shall mean an order of the Court that has not been reversed,

modified, amended or stayed, and as to which the time to appeal or to seek review or certiorari

thereof has expired, and as to which no appeal, review or rehearing is pending.

               35.    “Galster Judgment” means the Galster Funding LLC judgment of

foreclosure and sale dated March 28, 2018 in the Supreme Court of Kings County, Index no.

519469/2016.

               36.    “Galster” and "Galster Mortgagee” shall mean Galster Funding LLC.

               37.    "Interest" shall mean an existing ownership interest in the Debtor.

               38.    "Interest Holder" shall mean a holder and owner of an existing Interest in

the Debtor.

               39.    "Legal Rate" shall mean the applicable interest rate as set forth in 28

U.S.C. §1961 as of the Petition Date.

               40.    "Lien" shall mean a charge against or interest in property to secure

payment of a debt or performance of an obligation.

               41.    "Petition Date" shall mean December 20, 2018.

               42.    "Plan" shall mean this Plan of Reorganization, and any and all

modifications and/or amendments hereto.

               43.    "Plan Administrator" shall mean Mark Frankel.



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               44.     “Plan Administrator Fund” shall mean $30,000 to be set aside from the

Property Sale Proceeds, and then from the proceeds of Causes of Action to the extent necessary

to pay fees and expenses of the Plan Administrator.

               45.     “Professional(s)” shall mean any entity or person employed pursuant to an

order of the Bankruptcy Court in accordance with sections 327, 328, or 1103 of the Bankruptcy

Code and to be compensated for services rendered pursuant to sections 327, 328, 329, 330 and/or

331 of the Bankruptcy Code.

               46.       “Professional Fee Claim” shall mean those fees and expenses claimed by

a Professional pursuant to sections 330, 331 and/or 503 of the Bankruptcy Code.

               47.     “Professional Fee Claim Bar Date” shall mean the last day for a

Professional to file a Professional Fee Claim, which shall be no later than thirty (30) days after

the Confirmation Date.

               48.     "Property" shall mean the real property at 4917 12th Avenue, Brooklyn,

New York 11219.

               49.     “Property Sale Proceeds” shall mean the proceeds of sale of the Property,

less all charges to be incurred in connection with the marketing, negotiation, documentation,

execution, and closing of the sale of the Property, including, without limitation, any fees and

expenses paid to retain an auctioneer, real estate broker, and/or special real estate counsel.

               50.     "Proponent” shall mean Galster Funding LLC.

               51.     "Purchaser” shall mean the purchaser of the Property pursuant to the Plan.




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               52.     “Reorganized Debtor” shall mean the Debtor on and after the Effective

Date.

               53.     "Secured Claim" shall mean a Claim secured by a Lien on property

included within the Debtor’s Estate.

               54.     "Secured Creditor" shall mean the owner or holder of a Secured Claim.

               55.     "Unsecured Claim" shall mean a claim for which the Claimant does not

hold (a) a valid, perfected and enforceable Lien, security interest or other interest in or

encumbrance against Debtor or the Debtor’s Estate; or (b) a right to setoff to secure the payment

of such Claim. An Unsecured Claim includes, but is not limited to, a Claim for damages

resulting from rejection of any Executory Contract pursuant to Section 365 of the Bankruptcy

Code and does not include administrative of priority claims.

               56.     "Unsecured Creditor" shall mean the owner or holder of an Unsecured

Claim.

                      CLAIMS CLASSIFICATION AND TREATMENT

                                               Class 1

               57.     Classification – New York City real estate tax, water, sewer and other

liens. Claims total approximately $0.00.

               58.     Treatment – Payment in full in Cash of Allowed Amount on the Effective

Date, plus interest at the applicable statutory rate as it accrues from the Petition Date through the

date of payment.

               59.     Voting -- Unimpaired and deemed to have accepted the Plan

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                                               Class 2

                60.      Classification – Galster Funding LLC Claim totals approximately

$9,480,175 as of the filing date.

                61.      Treatment – Payment of available Cash up to Allowed Amount of Class 2

Claim, after payment of Administrative Expenses, priority tax Claims, Class 1 Claims and Class

4 Claims. If the Property Sale Proceeds are insufficient to pay the Claim in full, the deficiency

amount shall be treated as a Class 5 Claim.

                Voting – Impaired and entitled to vote to accept or reject the Plan.

                                               Class 3

                62.      Classification – Old Republic. Claim totals approximately $13,500,000

as of the filing date.

                63.      Treatment – Payment of available Cash up to Allowed Amount of the

Class 3 Claim, after payment of Administrative Expenses, priority tax Claims, Class 1 Claims,

Class 2 Claims and Class 4 Claims. If the Property Sale Proceeds are insufficient to pay the

Claim in full, the deficiency amount shall be treated as a Class 5 Claim.

                64.      Voting – Impaired and entitled to vote to accept or reject the Plan.

                                               Class 4

                65.      Classification – Priority Claims under Sections 507(a)(2), (3), (4), (5),

(6), and (7) of the Bankruptcy Code. Claims total approximately $0.




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               66.     Treatment – Payment in full in Cash of Allowed Amount on the Effective

Date, plus interest at the applicable statutory rate as it accrues from the Petition Date through the

date of payment.

               67.     Voting -- Unimpaired and deemed to have accepted the Plan

                                              Class 5

               68.     Classification – General Unsecured Claims. Claims total approximately

$12,480,175

               69.     Treatment – Payment of available Cash up to Allowed Amount of Class 5

Claims, after payment of Administrative Expenses, priority tax Claims, Class 1, 2, 3, and 4

Claims.

               70.     Voting – Impaired and entitled to vote to accept or reject the Plan.

                                              Class 6

               71.     Classification – Interests .

               72.     Treatment – Payment of available Cash after payment of Administrative

Expenses, priority tax Claims, Class 1, 2, 3, 4 and 5 Claims.

               73.     Voting – Impaired and entitled to vote to accept or reject the Plan.

                                ADMINISTRATIVE EXPENSES

               74.     Allowed Administrative Expenses shall be paid in full, in cash on the

Effective Date, or the date such Administrative Expense becomes Allowed or as soon as

practicable thereafter, except to the extent that the holder of an Allowed Administrative Expense


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agrees to a different treatment; provided, however, that Allowed Administrative Expenses

representing obligations incurred in the ordinary course of business or assumed by the Debtor

shall be paid in full or performed by the Debtor in the ordinary course of business or pursuant to

the terms and conditions of the particular transaction. As of the Confirmation Date, unpaid

Chapter 11 professional fees will total an amount to be determined for Debtor’s counsel subject

to Bankruptcy Court approval.

               75.    Unless otherwise ordered by the Bankruptcy Court, requests for payment

of Administrative Claims (except for Professional Fee Claims) must be filed and served on

counsel for the Debtor and Proponent by no later than the Confirmation Hearing (the

“Administrative Claims Bar Date”). Any Person that is required to file and serve a request for

payment of an Administrative Claim and fails to timely file and serve such request shall be

forever barred, estopped, and enjoined from asserting such Claim or participating in distributions

under the Plan on account thereof. Objections to requests for payment of Administrative Claims

(except for Professional Fee Claims and Administrative Claims incurred in the ordinary course

of the Debtor’s business) must be filed and served on counsel for the Debtor, Proponent, and the

party requesting payment of an Administrative Claim within thirty (30) days of the date such

request for payment has been filed.

               76.    Unless otherwise ordered by the Bankruptcy Court, and subject to notice

and a hearing under section 330 of the Bankruptcy Code, requests for payment of Professional

Fee Claims incurred through the Confirmation Date must be filed and served no later than thirty

(30) days after the Confirmation Date (the “Professional Fee Claims Bar Date”). The day prior to

the Confirmation Date, each Professional shall provide counsel for the Debtor and counsel to the


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Proponent with a written estimate of the total amount of compensation and expenses for which

such Professional expects to seek final compensation and reimbursement pursuant to section 330

of the Bankruptcy Code. Such estimates shall include estimated sums for the preparation and

prosecution of any application for final compensation.

               77.     The Debtor shall pay from Cash in the Estate all fees payable due as of the

Effective Date pursuant to section 1930 of title 28 of the United Sates Code. Thereafter, the

Debtor shall pay from Cash in the Estate all United States Trustee quarterly fees under 28 U.S.C.

§ 1930(a)(6), plus interest due under 31 U.S.C. § 3717, on all disbursements, including plan

payments and disbursements in and outside of the ordinary course of business, until the earliest

of the entry of a final decree closing the Chapter 11 Case, dismissal of the Chapter 11 Case, or

conversion of the Chapter 11 Case to a case under chapter 7 of the Bankruptcy Code.

                             MEANS FOR IMPLEMENTATION

               78.     Source of Funds – Payments under the Plan will be paid either from the

Property Sale Proceeds or Cash to be contributed by Galster if Galster or its designee is

Purchaser of the Property by credit bid. The sale of the Property shall be implemented pursuant

to the Bidding and Auction Procedures annexed as Exhibit “A” to the Plan. Prior to or on the

Effective Date, the Property shall be sold to Purchaser free and clear of all Liens, Claims, and

encumbrances, with any such Liens, Claims, and encumbrances to attach to the Property Sale

Proceeds, and disbursed in accordance with the provisions of this Plan. Galster and BCG shall

each have the right, but not the obligation, to provide for an assignment of its mortgage and an

assumption by the Purchaser in connection with the sale of the Property under the Plan. In the

event the Property Sale Proceeds are not sufficient to pay all Claims in full with interest from the


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Petition Date, the proceeds of the prosecution of the Causes of Action by the Plan Administrator

shall be an additional potential source of Cash to be distributed under the Plan, net of payment of

Plan Administrator fees and expenses. Such net proceeds of Causes of Action proceeds will first

be used for unpaid Plan Administrator fees and expenses, then in the event Galster or its

designee is Purchaser by credit bid, to reimburse Galster for Cash paid to fund the Plan, and then

paid to Creditors in the order of priority provided for in the Plan.

               79.     Sale Approval -- As part of the sale under the Plan, and in order to ensure

consummation of the Plan, the Plan requires that a post-confirmation sale order be entered

containing the following findings of fact and conclusions of law: (a) that the terms and

conditions of the sale are fair and reasonable, (b) that the Debtor's sale, and the purchaser's

purchase, of the Property pursuant to the Plan, is non-collusive, fair and reasonable and was

conducted openly and in good faith, (c) that the transfer of the Property to the purchaser

represents an arm's-length transaction and was negotiated in good faith between the parties, (d)

that the purchaser, as transferee of the Property, is a good faith purchaser under Bankruptcy

Code § 363(m) and, as such, is entitled to the full protection of Bankruptcy Code § 363(m), (e)

the sale of the Property to the purchaser was not controlled by an agreement among potential

purchasers, (f) that no cause of action exists against the Purchaser or with respect to the sale of

the Property to the Purchaser under Bankruptcy Code § 363(n), and (g) that any claims under

Bankruptcy Code § 363(n) or any other claims as against the Purchaser are hereby released,

waived and discharged.

               80.      Release of Liens -- Except as otherwise provided for in the Plan and in

connection with the assumption and assignment of the Galster mortgage and the BCG mortgage,


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on the Effective Date, (a) each holder of a Secured Claim, shall on the Effective Date (x) turn

over and release to the Proponent any and all Collateral that secures or purportedly secures such

Claim, as they pertain to the properties currently owned by the Debtor or such Lien shall

automatically, and without further action by the Debtor or the Proponent, be deemed released,

and (y) execute such documents and instruments as the Proponent requests to evidence such

Claim holder's release of such property or Lien.

               81.     Stamp Tax -- Pursuant to Bankruptcy Code § 1146(c), (a) the issuance,

transfer or exchange of any securities, instruments or documents, (b) the creation of any other

Lien, mortgage, deed of trust or other security interest, (c) the making or assignment of any lease

or sublease or the making or delivery of any deed or other instrument of transfer under, pursuant

to, in furtherance of, or in connection with, the Plan, including, without limitation, any deeds,

bills of sale or assignments executed in connection with the purchase of the Property by the

Purchaser and any other transaction contemplated under the Plan or the re-vesting, transfer or

sale of any real or personal property of the Debtor pursuant to, in implementation of, or as

contemplated in the Plan, and (d) the issuance, renewal, modification or securing of indebtedness

by such means, and the making, delivery or recording of any deed or other instrument of transfer

under, in furtherance of, or in connection with, the Plan, including, without limitation, the

Confirmation Order, shall not be subject any applicable document recording tax, stamp tax,

conveyance fee or other similar tax, mortgage tax, real estate transfer tax, or other similar tax or

governmental assessment including without limitation New York City Real Property Transfer

Tax and New York State Documentary Tax.




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               82.     Execution of Documents -- Pursuant to section 1142 of the Bankruptcy

Code, upon the Effective Date, the Plan Administrator, the Disbursing Agent, the Debtor and any

necessary party thereto, are directed to execute, release, and deliver all documents reasonably

necessary to consummate the transactions contemplated by the terms and conditions of the Plan.

The Proponent shall be authorized to execute, in the name of any necessary party, any notice of

satisfaction, release or discharge of any Lien, Claim or encumbrance not expressly preserved in

the Plan and deliver such notices to any and all federal, state and local governmental agencies or

departments for filing and recordation.

               83.     Recording Documents -- Each and every federal, state and local

governmental agency or department shall be authorized to accept and record any and all

documents and instruments necessary, useful or appropriate to effectuate, implement and

consummate the transaction contemplated by the Plan, including, but not limited to any and all

notices of satisfaction, release or discharge of any Lien, Claim or encumbrance not expressly

preserved by the Plan, and the Confirmation Order.

               84.     Property Turnover at Closing. The Debtor shall turnover possession of

the Property at closing together with all files and records pertaining to construction documents,

Department of Buildings building permits, violations, architectural plans, leases, repair invoices,

and tenant correspondence. If the Debtor fails to turnover possession, Proponent shall be entitled

to submit a writ of assistance for Bankruptcy Court approval to obtain the assistance of the

United States Marshal to remove the Debtor and its affiliates from the Property and effectuate

turnover of the Property and all related files and records pertaining to construction documents,




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Department of Buildings building permits, violations, architectural plans, leases, repair invoices,

and tenant correspondence.

               85.     Property Marketing. The Plan Administrator shall retain Aaron Jungreis

Rosewood Realty Group to market the Property. The Debtor shall cooperate with any broker,

auctioneer, and/or real estate professional to permit reasonable access to the Property for

marketing purposes.

               86.     Corporate Action. Upon the entry of the Confirmation Order, all matters

provided under the Plan involving the corporate structure of the Debtor shall be deemed

authorized and approved without any requirement of further action by the Debtor, the Debtor’s

members, or the Debtor’s boards of directors, managers, and/or managing members.

               87.     Manner of Payment. Any payment of Cash made under the Plan may be

made either by check drawn on a domestic bank, by wire transfer, or by automated clearing

house transfer from a domestic bank, at the option of the Proponent.

               88.     Vesting of Property. On the Effective Date, title to and possession of any

and all property of the estate, real or personal, shall be re-vested in the Reorganized Debtor free

and clear of all liens, claims, interests and encumbrances of any kind, subject to and except as

otherwise provided in this Plan and the Confirmation Order.

                             MANAGEMENT OF THE DEBTOR

               89.     Post-confirmation management will remain unchanged, provided however,

that the Plan shall be implemented by the Plan Administrator.




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               90.     The Plan Administrator shall be appointed on the Confirmation Date and

the Plan Administrator, on behalf of the Debtor, shall take all necessary steps, and perform all

necessary acts, to consummate the terms and conditions of the Plan.

   (a) Following the Confirmation Date, the Plan Administrator shall be responsible for the
       filing of all post-Confirmation reports required during such periods with the U.S. Trustee
       and payment of all post-Confirmation fees charged or assessed against the Estate under
       28 U.S.C. § 1930 during such periods.

   (b) The Plan Administrator shall be deemed a “party-in-interest” for purposes of filing and
       prosecuting objections to claims and Causes of Action.

   (c) The Plan Administrator shall have the exclusive authority and duty to implement the sale
       of the Property and prosecution of Causes of Action under this Plan and accordingly shall
       exercise such rights and obligations of the Debtor in accordance with the Plan.

   (d) The Plan Administrator and his professionals shall be compensated from the Plan
       Administrator Fund at a rate of $400 per hour. The Plan Administrator has agreed to
       retain Backenroth Frankel & Krinsky, LLP, as his bankruptcy counsel at a rate of $500
       per hour, and may retain special litigation counsel at their customary rates. Professionals
       retained by the Plan Administrator shall not be required to file a fee application. The
       payment of the fees and expenses of the Plan Administrator and the Plan Administrator’s
       retained professionals shall be made first from the Plan Administrator Fund, and then
       from the proceeds of Causes of Action.

   (e) The Plan Administrator shall be authorized to obtain and pay for out of the Plan
       Administrator Fund all reasonably necessary insurance coverage for himself, his agents,
       representatives, employees, or other independent contractors, if necessary.

   (f) The Plan Administrator may resign by giving not less than thirty (30) days' prior written
       notice to the Disbursing Agent. Such resignation shall become effective upon the
       Bankruptcy Court approval of a successor Plan Administrator.

   (g) Upon the request of any party in interest, the Bankruptcy Court may remove the Plan
       Administrator for cause. For purposes of this paragraph, “cause” shall mean (I) an act of
       fraud, embezzlement or theft in connection with the Plan Administrator's duties or in the
       course of its engagement in such capacity, (ii) the intentional wrongful damage to the
       property of the Debtor, or (iii) gross neglect by the Plan Administrator of his duties under
       the Plan. Unless the Bankruptcy Court orders immediate removal, the Plan Administrator
       shall continue to serve until a successor Plan Administrator is appointed, and such
       appointment becomes effective, in accordance with the Plan.



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   (h) In the event of a vacancy by reason of the death, incapacity or immediate removal of the
       Plan Administrator or prospective vacancy by reason of resignation or removal, the
       Disbursing Agent shall appoint a successor Plan Administrator, which appointment shall
       be effective upon the approval of the Bankruptcy Court on not less than twenty (20) days'
       notice to parties who have filed a notice of appearance with the Bankruptcy Court during
       the chapter 11 case pursuant to Bankruptcy Rule 2002 and to all creditors of the Debtor,
       unless the Bankruptcy Court authorizes otherwise. Every successor Plan Administrator
       appointed hereunder shall execute, acknowledge, and file with the Bankruptcy Court an
       instrument accepting such appointment subject to the terms and provisions of the Plan.
       The successor Plan Administrator, without any further act, shall become vested with all
       the rights, powers, and duties of the Plan Administrator, provided, however, that no Plan
       Administrator shall be liable for the acts or omissions of any prior or later Plan
       Administrator.

   (i) Unless otherwise ordered by the Bankruptcy Court, the death, resignation, or removal of
       the Plan Administrator shall not operate to terminate any agency or employment created
       by the Plan or invalidates any action theretofore taken by the Plan Administrator.

   (j) The Plan Administrator shall have the right at any time to seek and rely upon instructions
       from the Bankruptcy Court concerning his duties under the Plan or any other document
       executed in connection therewith, and the Plan Administrator shall be entitled to rely
       upon such instructions in acting or failing to act and shall not be liable for any act taken
       or not taken in reliance thereon. In the absence of actual knowledge to the contrary, any
       person dealing with the Plan Administrator shall be entitled to rely on the authority of the
       Plan Administrator to act on behalf of the Debtor’s estate and the Debtor, and shall have
       no obligation to inquire into the existence of such authority.

   (k) After the Effective Date, the Plan Administrator shall maintain books and records but
       shall not be responsible for preparing and filing tax forms and returns as are required to
       be filed under applicable law. The Interest Holder shall bear sole responsibility for filing
       tax forms and returns required under applicable law.

   (l) The Plan Administrator shall turnover to the Interest Holder all books, records, and files
       that shall have been delivered to or created by the Plan Administrator as needed for the
       filing of tax forms and returns, and when such books, records, and files are no longer
       required.

   (m)The Plan Administrator’s duties shall cease upon the closing of this Case.

               91.     Neither the Proponent, Plan Administrator, Disbursing Agent, nor any of

their employees, advisors, attorneys, accountants, financial consultants, contractors, agents, and

their successors and assigns, shall have or incur any liability to any Holder of a Claim or Interest,


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or to any other entity, for any act or omission in connection with, related to, or arising out of, the

pursuit of confirmation consummation, or other administration of the Plan or the property to be

distributed or otherwise dealt with under the Plan, except for gross negligence or willful

misconduct, and in all respects the Proponent, Plan Administrator, Disbursing Agent and each of

their employees, advisors, attorneys, accountants, financial consultants, contractors, and agents

shall be entitled to rely upon the advice of counsel with respect to its duties and responsibilities

under the Plan. No current Holder of a Claim or Interest, representative thereof, shall have or

pursue any claim or cause of action against the Proponent, Plan Administrator, or Disbursing

Agent for making payments in accordance with the Plan, or for implementing the provisions of

the Plan. Neither the Proponent, Plan Administrator, Disbursing Agent shall not be liable for

obligations relating to Allowed Claims to the extent that Allowed Claims are not paid in full,

other than as a result of the Disbursing Agent’s gross negligence or willful misconduct.

                                 PRESERVATION OF CLAIMS

               92.     All Causes of Action, including rights pursuant to Sections 502, 544, 545

and 546 of the Bankruptcy Code, all preference claims pursuant to Section 547 of the

Bankruptcy Code, all fraudulent transfer claim pursuant to Section 548 of the Bankruptcy Code,

and all claims relating to post-petition transactions under Section 549 of the Bankruptcy Code

shall be preserved for the benefit of the Debtor’s estate, provided, however, that the Plan

Administrator shall have sole authority for prosecuting any such claims.

                              DISTRIBUTIONS TO CREDITORS

               93.     The Proponent shall be disbursing agent under the Plan without a bond.

The Plan Administrator shall have the sole and exclusive right to file objections to claims in the

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event grounds exist to object to particular claims. Claims objections must be filed no later than

60 days after the Effective Date. On the initial distribution date and on each distribution date as

may thereafter be necessary, the Proponent shall maintain an undetermined claims distribution

reserve for the holders of undetermined claims as of such date in a sum not less than the amount

required to pay each such undetermined claim if such claim was allowed in full. To the extent

that an undetermined claim becomes an Allowed Claim, the distributions reserved for such

Allowed Claim, shall be released from the undetermined claims distribution reserve and paid to

the holder of such Allowed Claim. After all the amounts of all undetermined claims have been

fixed, the balance of the undetermined claims distribution reserve shall thereafter be paid in

accordance with the Plan.

                 EXECUTORY CONTRACTS AND UNEXPIRED LEASES

               94.     Any and all pre-petition leases or executory contracts (a) not previously

assumed or the subject of a motion to assume pending on the Confirmation Date and/or (b) not

designated prior to the Confirmation Date as pre-petition leases or executory contracts to be

assumed by the Proponent shall be deemed rejected by the Debtor. In the event of a rejection

which results in damages a Proof of Claim for such damages must be filed by the damaged party

with the Court within thirty (30) days after the Effective Date. All Allowed Claims arising from

the rejection of any Executory Contract or unexpired lease shall be treated as an Unsecured

Claim. Any Claim arising from the rejection of any Executory Contract or unexpired lease not

filed with the Court within the time period provided in the preceding paragraph above shall be

deemed discharged and shall not be entitled to participate in any distribution under the Plan.




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                               RETENTION OF JURISDICTION

               95.      Retention of Jurisdiction. The Court shall have jurisdiction over all

matters arising under, arising in, or relating to the Debtor’s Bankruptcy Case including, but not

limited to, proceedings: (a) to consider any modification of the Plan under section 1127 of the

Bankruptcy Code; (b) to hear and determine all Claims, controversies, suits and disputes against

the Debtor to the full extent permitted under 18 U.S.C. §1334 and 28 U.S.C. §157; (c) to hear,

determine and enforce all Claims and causes of action which may exist on behalf of the Debtor

or the Debtor’s estate, including, but not limited to, any right of the Debtor or the Debtor’s Estate

to recover assets pursuant to the provisions of the Bankruptcy Code; (d) to hear and determine all

requests for compensation and/or reimbursement of expenses which may be made; (e) to value

assets of the Estate; (f) To enforce the Confirmation Order, the final decree, and all injunctions

therein; (g) to enter an order concluding and terminating the Bankruptcy Case; (h) to correct any

defect, cure any omission, or reconcile any inconsistency in the Plan, or the Confirmation Order;

(i) to determine all questions and disputes regarding title to the assets of the Debtor; (j) to re-

examine Claims which may have been allowed for purposes of voting, and (k) to determine

objections which may be filed to any Claims.

                                    GENERAL PROVISIONS

               96.      Headings. The headings in the Plan are for convenience of reference only

and shall not limit or otherwise affect the meaning of the Plan.

               97.      Disputed Claims. The Proponent shall hold in escrow the distribution that

would be due on account of any Disputed Claim. No Disputed Claims shall be paid, nor shall



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distributions be made to a creditor holding a Disputed Claim, until such Claim becomes an

Allowed Claim.

               98.     Calculation of Time Periods. Bankruptcy Rule 9006 is incorporated

herein for purposes of calculating the dates set forth herein.

               99.     Other Actions. Nothing contained herein shall prevent the Proponent,

Debtor, Interest Holders, or Creditors from taking such actions as may be necessary to

consummate the Plan, although such actions may not specifically be provided for within the

Plan.

               100.    Modification of Plan. The Proponent may seek amendments or

modifications to the Plan in accordance with section 1127 of the Bankruptcy Code at any time

prior to the Confirmation Date. After the Confirmation Date, the Proponent may seek to remedy

any defect or omission or reconcile any inconsistencies in the Plan or in the Confirmation Order,

in such manner as may be necessary to carry out the purposes and intent of the Plan

                      INJUNCTION AND PROPERTY OF THE ESTATE

               101.    Exculpation. Each of Proponent Disbursing Agent and Plan Administrator,

its agents (acting in such capacity), and any professional person employed by Proponent

Disbursing Agent and Plan Administrator shall not incur any liability to any Person and/or Entity

for any action taken or omitted to be taken in connection with or related to the formulation,

preparation, dissemination, confirmation, or consummation of this Plan, the Disclosure

Statement, or any other contract, instrument, release, or other agreement or document created or

entered into, or any other action taken or omitted to be taken in connection with the Chapter 11

Case or this Plan; provided, however, that the foregoing exculpation from liability will not apply

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to actions or omissions taken in bad faith or as a result of gross negligence or willful misconduct.

Nothing in this Plan shall limit the liability of any professionals to their respective clients for

malpractice pursuant to Rule 1.8(h) of the New York Rules of Professional Conduct.

               102.     Confirmation Injunction. Other than such liabilities and obligations

otherwise assumed or provided hereunder, and as set forth in the Confirmation Order (a) the

rights afforded herein and the treatment of all Claims and Interests herein, shall be in exchange

for and in complete satisfaction and release of, all Claims and Interests of any nature whatsoever,

including any interest accrued on Claims from and after the Petition Date, against the Debtor or

any of its Assets and properties, (b) on the Effective Date, all such Claims against the Debtor

shall be satisfied and released in full, and (c) all Persons shall be precluded from asserting and

shall be permanently enjoined from commencing or continuing in any manner any action or

proceeding (whether directly, indirectly, derivatively, or otherwise) against the Debtor, its Assets

or property, based upon any act or omission, transaction, or other activity of any kind or nature

that occurred prior to the Effective Date.

               103.     Discharge. On the Effective Date, except as otherwise expressly provided

in this Plan or the Confirmation Order, the Confirmation of this Plan shall as of the Effective

Date: (i) discharge the Debtor, the Reorganized Debtor and any of its Assets from all Claims,

demands, liabilities and other debts that arose on or before the Effective Date, including, without

limitation, all debts of the kind specified in section 502 of the Bankruptcy Code, whether or not

(A) a proof of claim based on such debt is Filed or deemed Filed pursuant to section 501 of the

Bankruptcy Code, (B) a Claim based on such debt is Allowed pursuant to section 502 of the

Bankruptcy Code, (C) a Claim based on such debt is or has been disallowed by order of the


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Bankruptcy Court, or (D) the holder of a Claim based on such debt has accepted this Plan; and

(ii) preclude all Entities from asserting against the Debtor, the Reorganized Debtor or any of its

Assets any other or further Claims based upon any act or omission, transaction or other activity

of any kind or nature that occurred prior to the Effective Date, all pursuant to sections 524 and

1141 of the Bankruptcy Code. The discharge provided in this provision shall void any judgment

obtained against the Debtor at any time, to the extent that such judgment relates to a discharged

Claim. The Debtor shall be discharged from any Claims and agreements related to debts that

arose on or before the Effective Date and such debts, Claims and agreements are deemed

restructured and new as set forth in the Plan.

                                     CLOSING THE CASE

               104.    Upon substantial consummation, the Debtor or the Proponent may move

for a final decree to close the Bankruptcy Case and to request such other orders as may be just.

Dated: New York, New York
       April 30, 2019
                                                 Galster Funding LLC
                                                 Plan Proponent

                                      By:        s/Robert Liner _____________________________

                                                 BACKENROTH FRANKEL & KRINSKY, LLP
                                                 Attorneys for Proponent


                                      By:        s/Mark Frankel _________________________
                                                 800 Third Avenue
                                                 Floor 11
                                                 New York, New York 10022
                                                 (212) 593-1100




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                                      EXHIBIT A to Plan

                         BIDDING AND AUCTION PROCEDURES

        These Terms and Conditions of Sale are promulgated in connection with the auction sale
(the "Sale") of the real property located at 4917 12th Avenue, Brooklyn, New York 11219 (the
“Property”).

Time and Place of Sale: The Sale will be held on ______________________, 2019 at ____ __
m. at the offices of Backenroth Frankel & Krinsky, LLP, 800 Third Avenue New York, New
York 10022.

Sale Pursuant to Chapter 11 Plan: The Seller of the Property is 4921 12th Avenue, LLC (the
"Debtor"). The sale shall be conducted pursuant to Bankruptcy Code section 363 and the
Chapter 11 Plan of Reorganization (the “Plan”) proposed by Galster Funding LLC, the Plan
proponent (“Proponent”).

Sale free and Clear of Liens: The Sale of the Property shall be conducted pursuant to the
Proponent’s Plan of Reorganization free and clear of liens, claims, commercial leases not
assumed under the Plan, and encumbrances, with any such liens, claims and encumbrances to
attach to the sale proceeds, and disbursed under the Plan.

Qualification to Bid: In order to be qualified to bid on the Property, within seven days prior to
the commencement of the Sale, each prospective bidder (except the Proponent’s nominee) must
deliver to the Proponent (a) a bank check in the amount of Five Hundred Thousand Dollars
($500,000) (the "Qualifying Deposit") payable to "Backenroth Frankel & Krinsky, LLC, as
Attorneys” (b) evidence reasonably demonstrating such bidder’s ability to consummate a sale on
the terms proposed, and (c) a written offer to purchase substantially in the form annexed hereto.
No later than one business day before the Sale, each bidder will be notified by the Proponent as
to whether the Proponent deems such bidder qualified to bid at the Sale.

Bidding: Bidding shall be conducted openly at the Sale. The opening bid shall be three million,
two hundred fifty thousand dollars ($3,250,000). Minimum bidding increments shall be Fifty
Thousand Dollars ($50,000.00). Proponent or its designee may credit bid its full claim.

Successful Bidder Additional Deposit: At the Sale, once a bidder is determined to have made the
highest or best bid for the Property at the Sale (the "Successful Bidder"), bidding shall be
deemed closed and no additional bids will be considered. Within one business day after the
Successful Bidder is determined, the Successful Bidder (except for the Proponent’s nominee)
shall be required to increase the Qualifying Deposit to an amount equal to ten percent of the
winning bid, which amount shall serve as a good faith deposit against payment of the Purchase
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Price. At the conclusion of the Sale, the Proponent's counsel will return the Qualifying Deposits
to all other bidders.

Hearing to Approve Sale: A hearing will be conducted by the Bankruptcy Court on approval of
the sale and on any issue that may exist as to which competing bid is higher or better, before the
honorable Carla E. Craig on the ___ day of _________________, 2019 _____________, at the
United States Bankruptcy Court 271 Cadman Plaza East, Brooklyn, New York.

Sale Approval Order: the sale approval order (“Sale Order”) shall approve the Sale, and in
connection therewith, the Sale Order shall contain the following findings of fact and conclusions
of law: (a) that the Terms and Conditions of the Sale are fair and reasonable, (b) that the Sale and
the Purchaser's purchase, of the Property pursuant to the Plan, is non-collusive, fair and
reasonable and was conducted openly and in good faith, (c) that the transfer of the Property to
the Purchaser represents an arm's-length transaction and was negotiated in good faith between
the parties, (d) that the Purchaser, as transferee of the Property, is a good faith Purchaser under
Bankruptcy Code § 363(m) and, as such, is entitled to the full protection of Bankruptcy Code §
363(m), (e) the sale of the Property to the Purchaser was not controlled by an agreement among
potential purchasers, (f) that no cause of action exists against the Purchaser or with respect to the
sale of the Property to the Purchaser under Bankruptcy Code § 363(n), and (g) that any claims
under Bankruptcy Code § 363(n) or any other claims as against the Purchaser are hereby
released, waived and discharged.

Closing: The Successful Bidder must pay the balance of the Purchase Price for the Property (the
difference between the amount of the successful bid and the Qualifying Deposit) to the
Proponent, by bank check, or wire transfer at the closing of title to the Property (the "Closing").
The Successful Bidder must close title to the Property at a date that is no more than fifteen (15)
days after the Order by the Bankruptcy Court is entered, TIME BEING OF THE ESSENCE as to
the Successful Bidder, although such date may be extended solely by the Proponent.

Transfer Tax: Under the Plan, pursuant to section 1146(c) Bankruptcy Code, (a) the issuance,
transfer or exchange of any securities, instruments or documents, (b) the creation of any other
Lien, mortgage, deed of trust or other security interest, (c) the making or assignment of any lease
or sublease or the making or delivery of any deed or other instrument of transfer under, pursuant
to, in furtherance of, or in connection with, the Plan, including, without limitation, any deeds,
bills of sale or assignments executed in connection with the purchase of the Property by the
Purchaser and any other transaction contemplated under the Plan or the re-vesting, transfer or
sale of any real or personal property of the Debtor pursuant to, in implementation of, or as
contemplated in the Plan, and (d) the issuance, renewal, modification or securing of indebtedness
by such means, and the making, delivery or recording of any deed or other instrument of transfer
under, in furtherance of, or in connection with, the Plan, including, without limitation, the
Confirmation Order, shall not be subject any applicable document recording tax, stamp tax,
conveyance fee or other similar tax, mortgage tax, real estate transfer tax, or other similar tax or
governmental assessment including without limitation New York State Documentary Tax.
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Damages for Failure to Close: Time is of the Essence as Against the Successful Bidder and the
failure of the Successful Bidder to either timely pay the additional Qualifying Deposit or timely
close for any reason whatsoever (except as otherwise provided below) including its failure to pay
the balance of the Purchase Price on the Closing Date, will result in the Proponent retaining the
deposit as liquidated damages and the termination of the Successful Bidder's right to acquire the
Property under these Terms and Conditions of Sale. The Successful Bidder shall be obligated to
close title to the Property and there is no contingency of any kind or nature that will permit the
Successful Bidder to cancel or avoid its obligation under these Terms and Conditions of Sale
other than the Debtor’s inability to deliver a bargain and sale deed to the Property. Expenses
incurred by the Successful Bidder, or any competing bidder relating to any due diligence, such as
obtaining title reports or environmental inspections, shall be the sole responsibility of such
bidder, and under no circumstances shall the Proponent or the Proponent's professionals be
responsible for, or pay, such expenses.

Backup Bidder: In the event that the Successful Bidder for the Property fails to tender the
payment of the balance of the Purchase Price on the Closing Date, or otherwise perform any of
its obligations under these Terms and Conditions of Sale, the Proponent, at its sole option, shall
be authorized to sell the Property to the Second Highest Bidder without any further notice
without giving credit for the Deposit forfeited by the Successful Bidder, and upon such other
terms and conditions as the Proponent deems appropriate. Should the Second Highest Bidder
fail to close on the Property, within such time as the parties may agree but not to exceed thirty
(30) days after notice from the Proponent to the Second Highest Bidder, the Proponent shall be
authorized to sell the Property to the next highest or best bidder, without the necessity of any
further notice. All bidders will be bound by these Terms and Conditions of Sale, including,
without limitation, those items set forth in the paragraphs above, except that the Second Highest
Bidder must close within thirty (30) days of notification that his bid is accepted. TIME IS OF
THE ESSENCE.

No Representations: the Proponent, the Proponent's professional, the Debtor, and the Debtor’s
professionals have not made and do not make any representations as to the physical condition,
rents, leases, expenses, operations, value of the land or buildings thereon, or any other matter or
thing affecting or related to the Property or the Sale, which might be pertinent to the purchase of
the Property, including, without limitation, (i) the current or future real estate tax liability,
assessment or valuation of the Property; (ii) the potential qualification of the Property for any
and all benefits conferred by or available under federal, state or municipal laws, whether for
subsidies, special real estate tax treatment, insurance, mortgages, or any other benefits, whether
similar or dissimilar to those enumerated; (iii) the compliance or non-compliance of the Property,
in its current or any future state, with applicable present or future zoning ordinances or other land
use law or regulation, or the ability to obtain a change in the zoning or use, or a variance in
respect to the Property; (iv) the availability of any financing for the purchase, alteration,
rehabilitation or operation of the Property from any source, including, but not limited to, any
state, city or federal government or institutional lender; (v) the current or future use of the
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Property; (vi) the present and future condition and operating state of any and all machinery or
equipment on the Property and the present or future structural and physical condition of any
building thereon or its suitability for rehabilitation or renovation; (vii) the ownership or state of
title of any personal property on the Property; (viii) the presence or absence of any laws,
ordinances, rule or regulations issued by any governmental authority, agency or board and any
violations thereof; (ix) any present or future issues concerning subdivision or non-subdivision of
the Property; or (x) the compliance or non-compliance with environmental laws and the presence
or absence of underground fuel storage tanks, any asbestos or other hazardous materials
anywhere on the Property. Each bidder shall be deemed to have agreed and acknowledged that
no such representations have been made. the Proponent is not liable or bound in any manner by
expressed or implied warranties, guaranties, promises, statements, representations or information
pertaining to the Property, made or furnished by the Proponent or Debtor or any real estate
broker agent, employee, servant or other person or professional representing or purporting to
represent the Proponent or Debtor unless such warranties, guaranties, promises, statements,
representations or information are expressly and specifically set forth in writing by the
Proponent. For the avoidance of doubt, neither the Debtor nor the Debtor’s professionals are
authorized to provide any such warranties, guaranties, promises, statements, representations or
information.

As Is Sale: The Property is being sold free and clear of all liens, claims, commercial leases not
assumed under the Plan and encumbrances, with any such liens, claims and encumbrances to
attach to the net proceeds of sale after deduction of any expenses of sale. Furthermore, the
Property is being sold "AS IS", "WHERE IS" "WITH ALL FAULTS", without any
representations, covenants, guarantees or warranties of any kind or nature whatsoever and
subject to, among other things, (a) any state of facts that an accurate survey may show; (b) any
covenants, restrictions and easements of record; (c) any state of facts a physical inspection may
show; (d) any building or zoning ordinances or other applicable municipal regulations and
violations thereof; and (e) environmental conditions, including, without limitation, the Property’s
compliance (or lack of compliance) with environmental laws and the presence or absence of
underground fuel storage tanks, any hazardous materials or asbestos anywhere on the Property.
By delivering their respective Qualifying Deposits, each bidder is deemed to have acknowledged
that it has had the opportunity to review and inspect the Property, the state of title thereof and
laws, rules and regulations applicable thereto, and will rely solely thereon and on its own
independent investigations and inspections of the Property in making its bid. Neither the
Proponent nor any of its representatives make any representations or warrantees with respect to
the permissible uses of the Property, including but not limited to, the zoning of the Property. All
bidders are deemed to have acknowledged that they have conducted their own due diligence in
connection with the Property, and are not relying on any information provided by the Debtor,
Proponent or their professionals.

Deed: The Debtor, or the Proponent acting on the Debtor’s behalf, shall convey the Property by
delivery of a bargain and sale deed without covenants against grantor’s acts.

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Broker: Except Aaron Jungreis and Rosewood Realty Group, neither the Debtor nor the
Proponent nor their professionals are liable or responsible for the payment of fees of any broker.

Conduct of Sale: These Terms and Conditions of Sale will be read into the record, or specifically
incorporated by reference, at the Sale of the Property. By making a bid for the Property, all
bidders will be required to acknowledge these Terms and Conditions of Sale and agree to be
bound by them.

Failure to Close: If the Debtor, or the Proponent on the Debtor’s behalf, is unable to deliver title
to the Property in accordance with these Terms and Conditions of Sale for any reason
whatsoever or in the event that the Bankruptcy Court refuses to approve the sale of the Property
pursuant, the Proponent's only obligation will be to refund the Deposit, together with interest
earned thereon, if any, to the Successful Bidder, and upon such refund, the Successful Bidder
will have no claim or recourse against the Proponent, the Debtor or their professionals.

Right to Withdraw Sale: The Proponent reserves its right to withdraw the Property from the
Sale, either prior or subsequent to the Sale, for any reasonable reason, as the Proponent deems
necessary or appropriate.

Breakup Fee: None

Proponent’s Designee: Notwithstanding anything to the contrary herein, the Proponent shall be
entitled to name a designee or designees who shall be deemed qualified to bid without posting a
Qualifying Deposit or complying with the other requirements otherwise necessary to bid, and, if
the Successful Bidder and Purchaser, shall be entitled to purchase the Property subject to some or
all of the Proponent’s mortgage.

Bankruptcy Court Jurisdiction: The Bankruptcy Court shall determine any disputes concerning
the Sale of the Property. By participating in the Sale, all bidders consent to the jurisdiction of the
Bankruptcy Court to determine such disputes under the Debtor’s pending case.




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       CONTRACT dated as of the ____ day of _______________, 2019 (this “Contract”) ,
between 4921 12th Avenue, LLC, (the “Seller” or “Debtor”) and ________________________
having an address at _______________________________ _________________________
(“Purchaser”).

       Seller and Purchaser hereby covenant and agree as follows:

1. Sale of Property

        Paragraph 1.01. Seller shall sell or cause to be sold to Purchaser, and Purchaser shall
purchase, at the price and upon the terms and conditions set forth in this Contract: the real
property located at 4917 12th Avenue, Brooklyn, New York 11219 (the “Property”). The sale of
the Property includes (a) all of its appurtenances, including any estate, right, title, interest,
property, claim and demand of Seller in and to all streets, alleys, rights-of-way, sidewalks,
easements, any adjoining gores or strips of land and utility lines or agreements, including,
without limitation, all development rights and “air rights”; (b) all improvements, buildings and
structures located on or at the Property and the facilities located thereon, and any apparatus,
equipment, appliances and fixtures incorporated therein and used exclusively in connection with
the operation and occupancy thereof; (c) all plans, specifications, budgets, schedules, surveys,
drawings, reports and governmental applications, permits, approvals and licenses issued by any
federal, state or local governmental authority or agency pertaining to the ownership, operation,
maintenance, development, construction or use of the Property, including, without limitation,
the building plans approved by the City of New York, Department of Buildings on June 26,
2014 (collectively, the “Plans and Permits”); and (d) all of its rights and licenses in and to use the
Plans and Permits.

       Paragraph 1.02. Purchaser acknowledges that the Sale shall be conducted pursuant to the
Chapter 11 plan (“Plan”) confirmation order confirming the Plan proposed by Galster Funding
LLC (the “Plan Proponent” or Mortgagee”) in the Debtor’s bankruptcy case in the United States
Bankruptcy Court for the Eastern District of New York (hereinafter the “Bankruptcy Court”),
Case No. 18-47256. The “Bidding and Auction Procedures” (hereinafter the “Bidding
Procedures”) annexed to the Plan are deemed annexed to this Contract.

        Paragraph 1.03. Purchaser acknowledges that this sale is further subject to and governed
by (1) the Orders of the Bankruptcy Court including the Plan confirmation order, (2) the
provisions of the United States Bankruptcy Code (hereinafter the “Code”), and (3) the laws of
the State of New York, to the extent they do not conflict with (1) and (2), above.
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2. Purchase Price, Acceptable Funds

        Paragraph 2.01. The purchase price (“Purchase Price”) to be paid by Purchaser to Seller
for the Property is (          ) Dollars or such other bid by the Purchaser approved by the
Bankruptcy Court, payable as follows:

                (A) on the signing of this Contract, by Purchaser’s check payable to the Escrowee
(as hereinafter defined), subject to collection, the receipt of which is hereby acknowledged, to be
held in escrow pursuant to Bidding Procedures as defined in Article 3 hereof (the “Down
Payment”).
                (B) THIS CONTRACT IS “ALL CASH” AS KNOWN IN THE COMMON
PARLANCE. PURCHASER’S OBLIGATIONS UNDER THIS CONTRACT ARE NOT
CONDITIONED UPON PURCHASER’S ABILITY TO SECURE FINANCING OF ANY
KIND OR NATURE.

               (C) The balance at Closing (as hereinafter defined) in accordance with Section
2.02 hereof (the “Cash Balance”)

        Paragraph 2.02. All monies payable under this Contract, unless otherwise specified
herein, shall be paid by (a) certified checks of Purchaser drawn on any federally insured bank,
savings bank, trust company or savings and loan association having a banking office in the City
of New York; (b) official bank checks drawn by any such banking institution, payable to the
order of Seller (or as Seller shall direct) and bearing no endorsements; or (c) wire transfer of
immediately available federal funds. Attorney’s Escrow Checks of Purchaser payable to the
order of Seller (or as Seller directs) up to the amount of $1,000.00 in the aggregate shall be
acceptable for sums other than the Purchase Price payable to Seller at Closing.

3. Escrow of Down Payment

        Paragraph 3.01. (a) The Down Payment shall be paid by check or checks drawn to the
order of and delivered to Backenroth Frankel & Krinsky LLP (“Escrowee”). The Escrowee shall
hold the Down Payment in escrow in a non-interest-bearing IOLA Account until the Closing or
sooner termination of this Contract and shall pay over or apply the Down Payment in accordance
with the terms of this section. At the Closing, the Down Payment shall be paid by Escrowee in
accordance with Bidding Procedures. If for any reason the Closing does not occur and either
party makes a written demand upon Escrowee for payment of such amount, Escrowee shall give
written notice to the other party of such demand. If Escrowee does not receive a written
objection from the other party to the proposed payment within 10 business days after the giving
of such notice, Escrowee is hereby authorized to make such payment. If Escrowee does receive
such written objection within such 10-day period or if for any other reason Escrowee in good

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faith shall elect not to make such payment, Escrowee shall continue to hold such amount until
otherwise directed by written instructions from the parties to this Contract or pursuant to an order
of the Bankruptcy Court. However, Escrowee shall have the right at any time to deposit the
escrowed proceeds and interest, if any, thereon, with the clerk of the Bankruptcy Court.
Escrowee shall give written notice of such deposit to Seller and Purchaser. Upon such deposit
Escrowee shall be relieved and discharged of all further obligations and responsibilities
hereunder.

        (b) The parties acknowledge that Escrowee is acting solely as a stakeholder at their
request and for their convenience, that Escrowee shall not be deemed to be the agent of either of
the parties, and that Escrowee shall not be liable to either of the parties for any act or omission
on its part unless taken or suffered in bad faith, in willful disregard of this Contract or involving
gross negligence. Seller and Purchaser shall jointly and severally indemnify and hold Escrowee
harmless from and against all costs, claims and expenses, including reasonable attorneys’ fees,
incurred in connection with the performance of Escrowee’s duties hereunder, except with respect
to actions or omissions taken or suffered by Escrowee in bad faith, in willful disregard of this
Contractor involving gross negligence on the part of the Escrowee.

       (c) Escrowee or any member of its firm shall be permitted to act as counsel for Galster
Funding LLC (the “Proponent” or the “Mortgagee”) in any dispute as to the disbursement of the
Down Payment or any other dispute between the parties whether or not Escrowee is in
possession of the Down Payment and continues to act as Escrowee.

        (d) Escrowee acknowledges receipt of the Down Payment by certified, bank check
subject to collection or wire transmission and Escrowee’s agreement to these provisions by
signing in the place indicated on the signature page of this contact.

4. The Closing

         Paragraph 4.01. The conveyance of title to the Property by the Seller to Purchaser, and
payment of the Cash Balance by Purchaser shall take place 15 days following the entry of an
Order approving the Contract and the transaction embodied therein if that is a business day, and
if not, the following business day (the “Closing”). The Closing is to be held at the office of the
Escrowee, or such other location as designated by the Proponent within the Southern District of
New York. Purchaser will have a one time right to adjourn the Closing for up to five Business
Days from the original date (such adjourned date, “Purchaser’s Mandatory Closing Date”). Time
is of the essence with respect to Purchaser's obligations to close title in accordance with this
Contract on or before Purchaser’s Mandatory Closing Date.

5. Acknowledgments and Representations of Purchaser

       Purchaser acknowledges and represents that:

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         Paragraph 5.01. Purchaser has inspected the Property, made all appropriate inquiries into
the previous ownership and uses of the Property, is fully familiar with the physical condition and
state of repair thereof, and shall accept the Property “as is” and in their present condition,
including, without limitation, the environmental conditions as reflected in the Terms of Sale
annexed hereto, without any reduction of the Purchase Price for any change in such condition by
any reason thereof subsequent to the date of this Contract. The Terms of Sale set forth
conditions which Purchaser agrees to accept, including any covenant, easement, and/or deed
restriction, and any other future obligation relating thereto.

        Paragraph 5.02. Before entering into this Contract, Purchaser has made such examination
of the Property, the physical condition and state of repair thereof including the environmental
conditions. Purchaser acknowledges that it is an experienced real estate owner/operator and is
relying solely on its own expertise and investigations and inspections in entering into this
Contract and has not been induced by and has not relied upon any representations, warranties, or
statements, whether express or implied, made by Seller or any agent, employee, or other
representative of Seller or by any other person representing or purporting to represent Seller or
Proponent, which are not expressly set forth in this Contract, whether or not any such
representations, warranties or statements were made in writing or orally.

        Paragraph 5.03. In the event of any default by the Purchaser in the terms of this Contract,
the damages which are due to the Seller, by reason of said default, shall be deemed liquidated in
the amount of the Down Payment, as Seller’s sole remedy, it being agreed that Seller’s damages
in case of such default might be impossible to ascertain with mathematical precision and that the
Down Payment constitutes a fair and reasonable amount of damages under the circumstances and
is not a penalty.

        Paragraph 5.04. Purchaser represents that (a) it has the legal power, right and authority to
enter into this Agreement and to consummate the transactions contemplated hereby and that all
requisite action has been taken by Purchaser in connection with the entering into this Contract
and the consummation of the transactions contemplated hereby; (b) this Contract and all
documents required hereby to be executed by Purchaser are and will be valid, legally binding
obligations of and enforceable against Purchaser in accordance with their terms (c) Purchaser,
and all direct or indirect beneficial owners of Purchaser, are in compliance with all applicable
laws, statutes, rules and regulations of any federal, state or local governmental authority in the
United States of America, including the requirements of Executive Order No. 13224, 66 Fed.
Reg. 49079 (Sept. 25, 2001) (the “Order”) and other similar requirements contained in the rules
and regulations of the Office of Foreign Asset Control, Department of the Treasury (“OFAC”)
and in any related enabling legislation or other Executive Orders (collectively, the “Orders”).
Neither Purchaser nor any of the direct or indirect beneficial owners of Purchaser (i) is listed on
the Specially Designated Nationals and Blocked Persons List maintained by OFAC pursuant to
the Order and/or on any other list of terrorists or terrorist organizations maintained pursuant to
any of the rules and regulations of OFAC or pursuant to any other applicable Orders (such lists
are collectively referred to as the “Lists”) or is owned or controlled by, or acts for or on behalf
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of, any Person on the Lists or who has been determined by competent authority to be subject to
the prohibitions contained in the Orders; (ii) has been arrested for money laundering or for
predicate crimes to money laundering, convicted or pled nolo contendere to charges involving
money laundering or predicate crimes to money laundering; or (iii) has been determined by
competent authority to be subject to the prohibitions contained in the Orders; (iv) is owned or
controlled by, nor acts for or on behalf of, any natural person or entity (a “Person”) on the Lists
or any other Person who has been determined by competent authority to be subject to the
prohibitions contained in the Orders; (v) will transfer or permit the transfer of any interest in
Purchaser or such parties to any Person who is, or whose beneficial owners are, listed on the
Lists; or (vi) will assign this Agreement or any interest herein, to any Person who is listed on the
Lists or who is engaged in illegal activities.

6. Destruction, Damage or Condemnation

          Paragraph 6.01. The provisions of Section 5-1311 of the General Obligations Law shall
not apply to the sale and purchase provided for in this Contract and Purchaser agrees to close
title to the Property regardless of any destruction, damage or condemnation that occurs after the
execution and delivery of this Contract.

7. Seller’s Closing Obligations

        At the closing, Seller, or the Plan Proponent on the Seller’s behalf, shall execute and/or
deliver or cause to be executed and/or delivered to Purchaser the following:

       Paragraph 7.01. A bargain and sale deed without covenants against grantor’s acts,
executed by the Debtor, or the Plan Proponent on the Debtor’s behalf, in proper form for
recording so as to convey to Purchaser the fee title to the Property, subject to recorded
encumbrances and the other conditions of this Contract.

        Paragraph 7.02. All required New York City and State transfer tax returns executed by
the Debtor, or the Plan Proponent on the Debtor’s behalf, to be issued at the Closing and
delivered to the representative of Purchaser’s title company for delivery to the appropriate public
officers promptly after the Closing.

        Paragraph 7.03. The right to possession of the Property in condition required by this
Contract, subject to the provisions hereinabove and to the provisions of the Code and the laws of
the State of New York governing the rights to possession upon the conveyance of the deed
subject to any Order of the Bankruptcy Court and the Bidding Procedures. Seller shall not be
obligated to bring any motion or proceeding for the purpose of obtaining possession of any part
of the Property, or to remove any tenant or occupant therefrom after delivery of the Deed.




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       Paragraph 7.04. An assignment of all of Seller’s right, title and interest in and to the Plans
and Permits in the form attached hereto as Exhibit A executed by Seller, or the Plan Proponent
on the Seller’s behalf.

       Paragraph 7.05. Any other documents required by this Contract or by law to be delivered
by Seller to consummate this transaction.

8. Purchaser’s Closing Obligations

        At the Closing, Purchaser shall execute and/or deliver:

        Paragraph 8.01. The Cash Balance to the Mortgagee.

        Paragraph 8.02. All required New York City and State transfer tax returns, and cause all
such returns to be issued at the Closing and delivered to the representative of Purchaser’s title
company for delivery to the appropriate public officers promptly after the Closing. Purchaser
will pay any and all applicable transfer taxes and recording fees.

       Paragraph 8.03. Any other documents required by this Contract or by law or reasonably
required by Seller to be executed and/or delivered by Purchaser to consummate this transaction.

9. Apportionments

       Paragraph 9.01. The parties specifically acknowledge that there shall be no
apportionments made as of the date of Closing, whether for taxes, water or sewer charges,
emergency repair liens, assessments, rents, fuel, or any other matters relating hereto.

10. Objections to Sale

         Paragraph 10.01. This Contract shall automatically terminate if the Court rejects the Sale
or if Seller shall be unable to cause title to the Property to be conveyed to Purchaser at the
Closing Date or any adjournments thereof in accordance with the provisions of this Contract and
the Bidding Procedures. Purchaser nevertheless may elect either (i) to accept such title as Seller
may be able to convey, but without any abatement of or other credit to the Purchase Price or
liability on the part of Seller; or (ii) to terminate this Contract. The sole liability of Seller shall be
to refund the Down Payment and interest thereon, if any, to the Purchaser and this Contract shall
be null and void and the parties hereto shall be relieved of all further obligations and liability.
Neither Seller nor Mortgagee shall be required to bring any action or proceeding or to incur any
expense to cure any title defect or to enable Seller otherwise to comply with the provisions of
this Contract, except as may otherwise be provided in this Contract.

        Paragraph 10.02. Purchaser shall take title to the Property “as is” and subject to: any state
of facts an accurate survey may show; encroachments, covenants, easements, and restrictions of
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record, if any; violations, fines, penalties, zoning regulations, and ordinances of the City of New
York. Purchaser is aware of and agrees to the Terms of Sale which are attached to this Contract
and which are incorporated in this Contract by this reference as though fully set forth herein at
length.

11. Notices

        Paragraph 11.01. All notices under this Contract shall be in writing and shall be delivered
personally, by nationally recognized overnight courier, addressed to Mortgagee’s Attorney, on
behalf of the Seller, at the address set forth below, and to Purchaser addressed to Purchaser’s
Attorney at the address set forth below.

Mortgagee’s attorneys, Backenroth Frankel & Krinsky, LLP, 800 Third Avenue, New York,
New York 10022.

Purchaser’s Attorney:




12. Limitations on Survival of Representations, Warranties, Covenants and other Obligations

       Paragraph 12.01. Except as otherwise expressly set forth in this Contract, no
representations, warranties, covenants or other obligations of Seller or Plan Proponent and/or
Purchaser set forth herein shall survive the Closing except as specifically provided to survive,
and no action based thereon shall be commenced after the Closing except as to such
representations specifically provided to survive.

        Paragraph 12.02. The delivery of the deed by the Seller and the acceptance thereof by
Purchaser shall be deemed the full performance and discharge of every obligation on the part of
Seller to be performed hereunder, except those obligations, if any, of Seller which are expressly
stated in this Contract to survive.

13. Assignment of Contract

        Paragraph 13.01. Purchaser shall not assign this Contract or its rights hereunder without
the prior written consent of the Proponent, whose consent will not be unreasonably withheld or
delayed. Additionally, Purchaser may assign its rights under this Contract, but only immediately
before the Closing and only simultaneously with the payment of the Cash Balance, to any wholly
owned subsidiary of Purchaser, or to any entity in which Purchaser, or its principals, has an
equity interest of at least fifty-one (51%) percent and control of management (a “Controlled
Entity”), upon appropriate proof of same delivered to Proponent. Any purported assignment
without Proponent’s consent or that is not to a Controlled Entity with proof of such relationship
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given to Proponent shall be void. Any sale, transfer or assignment of any interests in Purchaser
will be deemed an assignment of this Contract and is subject to the same conditions as an
assignment of this Contract. Nevertheless, an assignment of Purchaser’s rights under this
Contract, if and when consented to by Proponent, shall not be effective unless and until an
executed counterpart of the instrument of assignment and of an assumption agreement by the
assignee shall have been delivered to Proponent.

       Paragraph 13.02. Seller shall assign pending tax certiorari actions, if any, to Purchaser
without any representations or warranties, and without any further obligation of Seller, except to
execute such documents as may be necessary to effectuate such assignment.

14. Miscellaneous Provisions

     Paragraph 14.01 THE PROVISIONS OF THE BIDDING PROCEDURES AND THE
ORDERS OF THE COURT ARE A PART OF THIS CONTRACT. ANY CONFLICT WITH
SUCH IN THIS CONTRACT WILL NOT BE DEEMED TO AMEND OR ALTER SAID
PROCEDURES OR ORDERS.

        Paragraph 14.02. Subject to the provisions of Paragraph 14.01, this Contract embodies
and constitutes the entire understanding between the parties with respect to the transaction
contemplated hereby, and all prior agreements, understandings, representations and statements,
oral or written, are merged into this Contract. Neither this Contract nor any provision hereof may
be waived, modified, amended, discharged, or terminated except by an instrument signed by the
party against whom the enforcement of such waiver, modification, amendment, discharge, or
termination is sought, and then only to the extent set forth in such instrument.

       Paragraph 14.03. This Contract shall be governed by, and construed in accordance with,
the Code and the Orders of the Bankruptcy Court and, where it does not conflict with the Code
or any Order of the Bankruptcy Court or the Bidding Procedures, the laws of the State of New
York. The Bankruptcy Court shall have the exclusive jurisdiction to determine any disputes
concerning the sale of the Property or any other matters under this Contract.

       Paragraph 14.04. The captions in this Contract are inserted for convenience or reference
only and in no way define, describe, or limit the scope or intent of this Contract or any of the
provisions hereof.

        Paragraph 14.05. This Contract shall be binding upon and shall inure to the benefit of the
parties hereto and their respective heirs or successors and permitted assigns.

        Paragraph 14.06. This Contract shall not be binding or effective until properly executed
and delivered by Seller and Purchaser, together with all amounts required to be paid pursuant to
2.0l (A) hereto. This Contract may be executed in counterparts each of which will constitute an
original and all of which, when taken together, will constitute one and the same agreement. A
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signed counterpart of this Contract delivered by electronic transmission will be treated as an
original.

        Paragraph 14.07. As used in this Contract, the masculine shall include the feminine and
neuter, the singular shall include the plural, and the plural shall include the singular, as the
context may require.

       Paragraph 14.08. Subject to Paragraph 14.01, if the provisions of any schedule or rider to
this Contract are inconsistent with the provisions of this Contract, the provisions of such
schedule or rider shall prevail.

        IN WITNESS WHEREOF, the parties hereto have executed this Contract as of the date
first above written.

 4921 12th Avenue, LLC, Seller                       Purchaser:



 By: ___________________________                     By: ___________________________
        Name:                                               Name:
        Title:                                              Title:
 Backenroth Frankel & Krinsky, LLP, Escrowee:



 By: ___________________________
        Name:
        Title:




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